       Case 1:16-cv-10666-JGD Document 122 Filed 05/17/19 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                                          )
GRANT ARMSTRONG and                       )
ARMSTRONG RX GP, LLC                      )
                                          )
            Plaintiffs,                   )
                                          )
v.                                        )
                                          )
WHITE WINSTON SELECT ASSET                )
FUNDS, LLC                                )
                                          )    Civil Action No. 1:16-cv-10666-JGD
            Defendant/Third-Party         )
            Plaintiff,                    )
                                          )
v.                                        )
                                          )
ARMSTRONG RX II, GP, LLC and              )
ARMSTRONG RX II, LP                       )
                                          )
            Third-Party Defendants.       )


 WHITE WINSTON SELECT ASSET FUNDS, LLC’s MOTION TO DISMISS
                THIRD AMENDED COMPLAINT



      1.    Pursuant to Fed.R.Civ.P. 12(b)(6), White Winston Select Asset Funds,

LLC (“White Winston”) moves for entry of an order dismissing all counts of

Plaintiffs’ Third Amended Complaint (“TAC”).

      2.    This is a dispute over two defaulted loans that White Winston Select

Asset Funds, LLC (“White Winston”), (a fund that provides loans at times to

distressed entities, such as in this matter) provided to Grant Armstrong

(“Armstrong”) and his wholly controlled ownership entity to acquire a pharmacy in

Dallas Texas (the “Dallas Pharmacy”).          White Winston claims it is owed
        Case 1:16-cv-10666-JGD Document 122 Filed 05/17/19 Page 2 of 3



approximately $3 million on account of these loans.

      3.    The Dallas Pharmacy no longer operates and is unable to repay any of

these loans to White Winston.     Ultimately, Armstrong defaulted on the White

Winston loans and the Dallas Pharmacy went into receivership in Texas state court.

Armstrong commenced this civil action defensively, asserting “lender liability”

claims against White Winston to avoid payment on the loans.                Armstrong’s

defensive lender liability claims are the subject of the Third Amended Complaint

(“TAC”) and White Winston’s Motion to Dismiss (“MTD”).

      4.    As grounds for this Motion, White Winston submits and incorporates

by reference its Memorandum of Authorities in Support of its Motion to Dismiss

Third Amended Complaint (“Memorandum”). White Winston has sought leave to

file the Memorandum by separate motion filed contemporaneously with the filing of

this Motion to Dismiss.

      WHEREFORE, White Winston prays that the Court enter an order allowing

this MTD and dismissing all counts in the TAC with prejudice and without costs,

and further that the Court award it such other and further relief to which it may be

entitled.

                                      Respectfully Submitted,

Dated: May 17, 2019                   /s/ Jeffrey D. Sternklar
                                      Jeffrey D. Sternklar (BBO #549561)
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                                         2
       Case 1:16-cv-10666-JGD Document 122 Filed 05/17/19 Page 3 of 3




                                      For White Winston Select Asset
                                      Funds, LLC.


                            L.R. 7.1 CERTIFICATION

      I hereby certify pursuant to L.R. 7.1 that the parties, through counsel, have
conferred and have attempted in good faith to resolve or narrow the issue.

                                                    /s/ Jeffrey D. Sternklar
                                                    Jeffrey D. Sternklar


                          CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was served upon the
attorney of record for each other party electronically through this Court’s CM/ECF
system on May 17, 2019.

                                                    /s/ Jeffrey D. Sternklar
                                                    Jeffrey D. Sternklar




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